                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               NORTHERN DIVISION


RT.30 AUTO & TRUCK SALES, LLC        *
                                     *
            Plaintiff,               *
                                     *
v.                                   *             Case No. 1:22-cv-01537 RDB
                                     *
CITY OF CRISFIELD, et al.            *
                                     *
            Defendants.              *
                                     *
                                     *
* * * * * * * * * * * * * * * * * * **


JOINT MOTION TO STAY PROCEEDINGS TO ALLOW FOR PLAINTIFF AND THE
    CITY OF CRISFIELD TO CONDUCT AN APPEAL HEARING AND FOR AN
 ADDITIONAL ONE WEEK PERIOD BEYOND THE CONCLUSION OF THE STAY
FOR PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS, IN THE
           ALTERNATIVE, MOTION FOR SUMMARY JUDGMENT


       COMES NOW, the parties Rt. 30 Auto & Truck Sales, LLC (“Plaintiff”) and the City of

Crisfield, Dean Bozman, Barry Dize, and Joyce Morgan (“Defendants”) by and through their

undersigned counsel and hereby move this Court – upon good cause shown— for an Order

Staying the proceedings through October 14, 2022 and providing Plaintiff through October 21,

2022 to oppose Defendants’ Motion to Dismiss, in the Alternative Motion for Summary

Judgment, and in support provide as follows:

                                   BASIS FOR MOTION

       1.     Plaintiff’s lawsuit against Defendants was removed to this Court on June 22,

2021. (ECF No. 1).




                                               1
        2.      On July 29, 2022, Defendants filed a Motion to Dismiss the Complaint, or in the

alternative, Motion for Summary Judgment (ECF No. 13).

        3.      Plaintiff’s response to this motion is presently due September 2, 2022.

        4.      The City of Crisfield and Plaintiff have agreed to participate in an Appeal Hearing

pertaining to Plaintiff’s use of the Pines Motel, to be held on September 19, 2022.

        5.      Insofar as the result of the hearing may bear upon issues raised in this matter, the

Parties agree that it is prudent to stay the matter.

        6.      In addition, it may be that certain issues may not warrant opposition depending on

the result of the hearing, and, therefore, a stay would serve to lessen fees and costs incurred in

this matter.

        7.      Plaintiff will need through October 21, 2022, to prepare the Opposition so as to

allow time to receive the decision by the City of Crisfield and assess the effects of is decision on

this Lawsuit.

        8.      No Party will be prejudiced by the relief sought herein.

        WHEREFORE, the Parties respectfully request that this Court grant the relief sought in

this motion.

                                                RESPECTFULLY SUBMITTED,

                                                /s/ Ruth Ann Azeredo
                                                Ruth Ann Azeredo (MD 16175)
                                                Law Office of Ruth Ann Azeredo, LLC
                                                1997 Annapolis Exchange Parkway
                                                Suite 300
                                                Annapolis, Maryland 21401
                                                (410) 558-1915
                                                (410) 558-1917 Fax
                                                Email: ruthazeredo@comcast.net
                                                Attorney For Plaintiff




                                                   2
                  /s/______________
                  Kimberly L. Limbrick, Bar # 23367
                  Emily Duvall Jolicoeur, Bar # 30024
                  CROSSWHITE, LIMBRICK & SINCLAIR, LLPS
                  25 Hooks Lane, Suite 314
                  Baltimore, Maryland 21208
                  410-653-6890
                  410-653-6896 Fax
                  kll@cls-law.com
                  edj@cls-law.com
                  Attorneys for Defendants
August 23, 2022




                    3
